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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                            MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                   SECTION “N-5"
                                                               JUDGE ENGELHARDT
                                                               MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Nunnery, et al v. Keystone Industries, Inc., et al.,
E.D. La. No. 09-3871
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * ********

               UNITED STATES OF AMERICA’S ANSWER TO “FIRST
           SUPPLEMENTAL AND AMENDING COMPLAINT” (Doc. Rec. 10274)

         Defendant United States of America (“United States”) hereby answers the First

Supplemental and Amending Complaint for Damages (Doc. Rec. 10274) filed by Plaintiffs’

Liaison Counsel (“PLC”). The United States Answers this First Supplemental and Amending

Complaint because it sets forth claims that are at issue for the fourth bellwether trial that is

scheduled to commence on July 19, 2010.

                                                  1.

         Admitted. See Nunnery v. Keystone Industries, Inc. et al., No. 09-0371 (Doc. Rec. 1, 1-

2).

                                                 2.a.

         Paragraph 2.a. is an introductory sentence to which a responsive pleading is not required.

                                                 2.b.

         Paragraph 1 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

         Paragraph 2 of the Original Complaint is an introductory sentence to which a responsive
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pleading is not required; however, to the extent a response is required, any factual allegations

contained therein are denied.

          Paragraph 3 of the Original Complaint, the United States denies that Keystone supplied

FEMA with trailers for use in the State of Louisiana pursuant to contracts with FEMA. As to the

remainder of Paragraph 3 of the Original Complaint, the United States lacks sufficient

information to admit or deny.

          Paragraph 4 of the Original Complaint, as to the phrase “CH2M Hill Constructors, Inc.

(“CH2M”), a Delaware corporation with its principal place of business in Colorado, licensed to

do business in the State of Mississippi and in good standing,” is denied because the United States

lacks sufficient information to admit or deny. The remainder of Paragraph 4 is denied.

                                                  3.a.

          Paragraph 3.a. sets forth legal conclusions to which a responsive pleading is not required;

however, to the extent a response is required, any factual allegations contained therein are

denied.

                                                 3.b.

          Paragraph 5 of the Original Complaint sets forth legal conclusions to which a responsive

pleading is not required; however, to the extent a response is required, any factual allegations

contained therein are denied.

          Paragraph 6 of the Original Complaint sets forth legal conclusions to which a responsive

pleading is not required; however, to the extent a response is required, any factual allegations

contained therein are denied.

          Paragraph 7 of the Original Complaint sets forth legal conclusions to which a responsive


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pleading is not required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 8 of the Original Complaint sets forth legal conclusions to which a responsive

pleading is not required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 9 of the Original Complaint sets forth legal conclusions to which a responsive

pleading is not required; however, to the extent a response is required, any factual allegations

contained therein are denied.

                                                 4.

       Paragraph 4.a. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.b. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.c. is admitted in part and denied in part. The United States admits that the

Department of Labor, Occupational Safety and Health Agency (“OSHA”) tested approximately

150 unoccupied temporary emergency housing units that had not been made ready for occupancy

between October 11, 2005 and January 2006. The remainder of Paragraph 4.c. sets forth legal

conclusions and argument because ATSDR minimum risk levels are not intended as regulatory

action levels and are not used by OSHA and as such no responsive pleading is required. To the

extent a response is required, however, any factual allegations contained therein are denied.


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       Paragraph 4.d. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.e. is denied.

       Paragraph 4.f. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required the United States lacks

sufficient information to admit or deny, and any factual allegations contained therein are denied.

       Paragraph 4.g. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.h. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.i. is denied.

       Paragraph 4.j. is admitted in part and denied in part. The United States admits that it had

some contact with manufacturers regarding the validity of concerns about formaldehyde in

temporary emergency housing units voiced by some occupants, the media, and other entities, and

determining what, if any, is an appropriate response to concerns about formaldehyde. The

remainder of any factual allegations contained in Paragraph 4.j. are denied.

       Paragraph 4.k. is admitted in part and denied in part. The United States admits that

several conference calls involving representatives from FEMA, the United States Environmental

Protection Agency (“EPA”), and Centers for Disease Control and Prevention/Agency for Toxic


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Substances and Disease Registry (“CDC/ATSDR”) took place commencing on or about in June

2006. The remainder of any factual allegations contained in Paragraph 4.k. are denied.

       Paragraph 4.l. is denied.

       Paragraph 4.m. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied..

       Paragraph 4.n. is denied.

       Paragraph 4.o. is denied.

       Paragraph 4.p. is denied.

       Paragraph 4.q sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.r. of the Original Complaint is admitted in part and denied in part. The

United States admits that on or about March 17, 2007, Dr. Mark Klein sent FEMA a letter

relating to ATSDR’s February 2, 2007, Health Consultation Report. As to remainder of

Paragraph 4.r., any factual allegations contained therein are denied because the allegation mis-

characterize the March 17, 2007, letter.

       Paragraph 4.s. is admitted in part and denied in part. The United States admits that in

October 2007, CDC/ATSDR issued a revised Health Consultation Report. As to the remainder

of the allegations set forth in Paragraph 4.s., any factual allegations contained therein are denied.

       Paragraph 4.t. is denied.

       Paragraph 4.u. is admitted in part and denied in part. The United States admits that


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testing of approximately 519 occupied temporary emergency housing units as part of a study to

investigated formaldehyde levels such units commenced on or about December 2007. As to the

remainder of the allegations set forth in Paragraph 4.u., any factual allegations contained therein

are denied.

       Paragraph 4.v. sets forth legal conclusions and argument as such no responsive pleading

is required; however, to the extent a response is required, the United States lacks sufficient

information to admit or deny, and any factual allegations contained therein are denied.

       Paragraph 4.w. is admitted in part and denied in part. The United States admits that on or

about February 2008, the CDC issued press releases reporting the preliminary or interim results

of its testing of 519 occupied units and those news releases may have contained or recommended

certain courses of action that should be taken in response to concerns about formaldehyde in

temporary emergency housing units. As to the remainder of the allegations set forth in

Paragraph 4.w., the United States lacks sufficient information to admit or deny, and any factual

allegations contained therein are denied.

       Paragraph 4.x. is denied.

       Paragraph 4.y. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 4.z. sets forth legal conclusions and argument as such no responsive pleading

is required; however, to the extent a response is required, any factual allegations contained

therein are denied.

       Paragraph 4.aa. sets forth legal conclusions and argument as such no responsive pleading


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is required; however, to the extent a response is required, any factual allegations contained

therein are denied.

                                                  5.

       Paragraph 10 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 11 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny Plaintiffs’ characterization of “Mobile Homes.”

       Paragraph 12 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny Plaintiffs’ characterization of “travel trailers.”

       Paragraph 13 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny Plaintiffs’ characterization of “park models.”

       Paragraph 14 of the Original Complaint is denied.

       Paragraph 15 of the Original Complaint is denied.

       Paragraph 16 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 17 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 18 of the Original Complaint is denied.

       Paragraph 19 of the Original Complaint asserts that “each of the housing units at issue,

both those which were manufactured prior to the hurricanes and those later manufactured, and

purchased by FEMA, contained dangerous levels of formaldehyde due to Keystone’s use of

certain materials in their construction and/or posed the threat of producing dangerous levels of


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formaldehyde due to the Federal Government’s intended use of the housing units as temporary

residences for at least 18 months. . .” This claim is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 19 of the Original Complaint further asserts that “Keystone failed to warn the

Federal Government about these dangers . . .” The United States admits that Keystone never

issued any warning to FEMA about such dangers.

       Paragraph 19 of the Original Complaint further asserts that these dangers “initially were

not known to the Federal Government.” The United States admits that such dangers were not

initially known to the Federal Government, and denies such dangers were subsequently

discovered by FEMA.

       Paragraph 20 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 21 of the Original Complaint is denied.

       Paragraph 22 of the Original Complaint, the first sentence is denied because the United

States lacks sufficient information to admit or deny.

       Paragraph 22 of the Original Complaint, the second sentence sets forth legal conclusions

to which a responsive pleading is not required; however, to the extent a response is required, any

factual allegations contained therein are denied.

       Paragraph 23 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 24 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.


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       Paragraph 25 of the Original Complaint sets forth legal conclusions to which a

responsive pleading is not required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 26 of the Original Complaint sets forth legal conclusions to which a

responsive pleading is not required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 27 of the Original Complaint sets forth legal conclusions to which a

responsive pleading is not required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 28 of the Original Complaint sets forth legal conclusions to which a

responsive pleading is not required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 29 of the Original Complaint relates to FEMA’s contract with CH2M. The

United States admits that FEMA contracted with CH2M, and that pursuant to that contract,

CH2M performed various activities in response to Hurricanes Katrina and Rita. The remainder

of Paragraph 29 sets forth legal conclusions or Plaintiffs’ characterization of the terms and

conditions of FEMA’s contract with CH2M, or that contract, to which a responsive pleading is

not required; however, to the extent a response is required, any such facts and/or factual

characterization of the contract, or any other factual allegations contained therein are denied.

       Paragraph 30 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked with pursuant to a contract with the government, and as such, no responsive pleading

is required; however, to the extent a response is required, any factual allegations contained


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therein are denied.

       Paragraph 31 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 32 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 33 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 34 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government and as such no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 35 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 36 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 37 of the Original Complaint is denied because the United States lacks


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sufficient information to admit or deny.

          Paragraph 38 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

          Paragraph 39 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

          Paragraph 40 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied. Paragraph 40 of the Original Complaint also asserts

that CH2M failed to comply with certain contractual tasks or obligations, and those allegations

are denied because the United States lacks sufficient information to admit or deny.

          Paragraph 41 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

          Paragraph 42 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

          Paragraph 43 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, the United States

lacks sufficient information to admit or deny, and any factual allegations contained therein are

denied.


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       Paragraph 44 of the Original Complaint sets forth legal conclusions as to what CH2M

was tasked or obligated to do pursuant to a contract with the government, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

       Paragraph 45 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 46 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 47 of the Original Complaint is denied because the United States lacks

sufficient information to admit or deny.

       Paragraph 48 of the Original Complaint sets forth legal conclusions and argument, as

such no responsive pleading is required; however, to the extent a response is required, any

factual allegations contained therein are denied.

       Paragraph 49 of the Original Complaint sets forth legal conclusions and argument, as

such no responsive pleading is required; however, to the extent a response is required, any

factual allegations contained therein are denied.

                                                 6.

       Paragraph 6.a. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 6.b. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations


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contained therein are denied.

       Paragraph 6.c. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 6.d. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 6.e. sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

       Paragraph 6.f. and its subparts sets forth legal conclusions and argument, and as such, no

responsive pleading is required; however, to the extent a response is required, any factual

allegations contained therein are denied.

                                                 7.

       Paragraph 7 sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

                                                 8.

       Paragraph 8 sets forth legal conclusions and argument, and as such, no responsive

pleading is required; however, to the extent a response is required, any factual allegations

contained therein are denied.

                                                 9.


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          Paragraph 9 of the First Supplemental and Amending Complaint is admitted in part and

denied in part. The United States admits that documents show that plaintiff David McGraw

received emergency housing assistance from FEMA. As to the remainder of any further factual

allegations contained in Paragraph 9 of the First Supplemental and Amending Complaint, the

United States lacks sufficient information to admit or deny, and any such factual allegations are

denied.

                                                 10.

          Paragraph 10 of the First Supplemental and Amending Complaint, the United States

admits that documents show that plaintiff David McGraw was issued a Keystone RV Co. travel

trailer (VIN# 4YDT260226N132486).

                                                 11.

          The United States lacks sufficient information to admit or deny Paragraph 11 of the First

Supplemental and Amending Complaint, and as such, any factual allegations contained therein

are denied.

                                                 12.

          Paragraph 12 of the First Supplemental and Amending Complaint is admitted in part and

denied in part. The United States admits that documents show that a travel trailer was delivered

to 5212 Dauphine Street, New Orleans, La. As to the remainder of any factual allegations

contained in Paragraph 12, the United States lacks sufficient information to admit or deny, and

any such factual allegations are therefore denied.

                                                 13.

          The United States lacks sufficient information to admit or deny Paragraph 13 of the First


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Supplemental and Amending Complaint, and as such, any factual allegations contained therein

are denied.

                                              14.

       The United States lacks sufficient information to admit or deny Paragraph 14 of the First

Supplemental and Amending Complaint, and as such, any factual allegations contained therein

are denied.

                                               15.

       Paragraph 15 of the First Supplemental and Amending Complaint is denied.

                                               16.

       Paragraph 16 of the First Supplemental and Amending Complaint incorporates by

reference allegations regrading a cause of action against defendant FEMA, purportedly found at

Paragraphs 79 through 85 of the Original Complaint. The United States denies that the Original

Complaint contains allegations with respect to a cause of action against FEMA.

                                               17.

       Paragraph 17 of the First Supplemental and Amending Complaint sets forth claims

against Keystone under the Louisiana Products Liability Act, and as such, does not require an

answer from the United States; however, to the extent a response is required, any factual

allegations contained therein are denied.

                                               18.

       Paragraph 18 of the First Supplemental and Amending Complaint sets forth claims

against CH2M under the Louisiana Products Liability Act, and as such, does not require an

answer from the United States; however, to the extent a response is required, any factual


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allegations contained therein are denied.

                                               19.

       Paragraph 19 of the First Supplemental and Amending Complaint sets forth negligence

claims against CH2M under Louisiana law, and as such, does not require an answer from the

United States; however, to the extent a response is required, any factual allegations contained

therein are denied

                                               20.

       Paragraph 20 of the First Supplemental and Amending Complaint sets forth legal

conclusions and argument as such no responsive pleading is required; however, to the extent a

response is required any factual allegations contained therein are denied.




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                      FTCA Jurisdiction Exceptions Bar Some Or All
                      Of Plaintiff’s Claims Against The United States.

       1.     The Court lacks subject matter jurisdiction over plaintiff David McGraw’s FTCA

claims because.

       a.     Plaintiff’s FTCA claims are barred by the discretionary function exception to the

              FTCA waiver of sovereign immunity. 28 U.S.C. § 2680(a).

       b.     Plaintiff’s FTCA claims are barred by the contractor exception to the FTCA’s of

              sovereign immunity. 28 U.S.C. §§ 1346(b), 2671.

       c.     Plaintiff’s FTCA claims are barred because he failed to properly exhaust his

              administrative remedies prior to filing suit. 28 U.S.C. § 2675(a); 28 C.F.R. §

              14.2.

       d.     Plaintiff’s FTCA claims are barred because he failed to present his administrative

              claim to the appropriate federal agency in a timely manner. 28 U.S.C. §2401(b).

       e.     Plaintiff’s FTCA claims are barred because he failed to file suit and commence an

              action in a timely manner. 28 U.S.C. § 2401(b).

       f.     Plaintiff’s FTCA claims are barred by the misrepresentation exception to the

              FTCA’s waiver of sovereign immunity. 28 U.S.C. § 2680(h).

       g.     Plaintiff’s FTCA claims based upon strict, no-fault or absolute liability theories

              are barred because the FTCA only waives sovereign immunity for injury or loss

              of property, or personal injury or death caused by a negligent or wrongful act or

              omission. 28 U.S.C. § 1346(b)(1).

       i.     Plaintiff’s FTCA claims based upon the FEMA’s providing of Stafford Act

              temporary emergency housing are barred because there is no analagous private

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         liability under applicable state tort law for the provision of temporary emergency

         response housing. 28 U.S.C. §§ 1346(b), 2674.

   j.    Plaintiff’s FTCA claims are barred because they seek to impose liability upon the

         United States for negligent or wrongful acts or omissions by persons or entities

         other then Federal employees acting within the scope of their employment. 28

         U.S.C. §§ 1346(b)(1), 2671.

   k.    Plaintiff’s FTCA claims for medical monitoring and any equitable relief are

         barred because the FTCA only waives sovereign immunity for money damages

         for injury or loss of property, or personal injury or death. 28 U.S.C. § 1346(b)(1).

   l.    The Court lacks subject matter jurisdiction over Plaintiff’s FTCA claims for

         money damages in excess of the “sum certain” set forth Plaintiff’s FTCA

         administrative claim. 28 U.S.C. § 2675(b). Plaintiff David McGraw sets forth as

         the sum certain in his administrative claim $36,000 property damage and

         $140,000 personal injuries. See May 26, 2009, McGraw SF 95 Administrative

         Claim (FEMA-001014 to FEMA-001016).

   m.    Plaintiff’s claims for punitive damages are barred because the FTCA does not

         waive sovereign immunity for such claims. 28 U.S.C. § 2674.

   n.    Plaintiff’s claims for pre-judgment interest are barred because the FTCA does not

         waive sovereign immunity for such claims. 28 U.S.C. § 2674.

   o.    Plaintiff’s claims for attorneys’ fees are barred because the FTCA does not waive

         sovereign immunity and authorize recovery of attorneys fees. 28 U.S.C. § 2678.

   p.    The Court lacks subject-matter jurisdiction over Plaintiff’s claims that FEMA


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               breached an implied and/or express contracts arising out of their alleged lease of

               temporary emergency housing from FEMA. 28 U.S.C. § 1346(a)(2) (Little

               Tucker Act); 28 U.S.C. § 1491(a) (Tucker Act)

                                   AFFIRMATIVE DEFENSE

          1.   Plaintiff’s Complaint, and each and every cause of action, allegation, and claim

therein, fails to state a claim upon which relief may be granted.

          2.   The United States owed no actionable duty to Plaintiff in this case.

          3.   If it is found that the United States owed an actionable duty to Plaintiff, which it

denies, the United States did not breach that duty.

          4.   The injuries, damages, or losses alleged by Plaintiff were not caused by any

negligent or wrongful act or omission of any officer, agent, servant, or employee of the United

States.

          5.   No negligent, wrongful act or omission of the United States, was the cause in fact,

or in any way contributed to, Plaintiff’s alleged injuries, damages, or losses.

          6.   No negligent, wrongful act or omission of the United States, was the proximate or

legal cause, or in any way contributed to, Plaintiff’s alleged injuries, damages, or losses.

          7.   Any alleged injuries, damages, or losses sustained by Plaintiff were not caused by

acts or omissions on the part of the United States, but were caused, in whole or in part, by

occurrences and conditions prior, or subsequent.

          8.   Any alleged injuries, damages, or losses sustained by Plaintiff were not caused by

acts or omissions on the part of the United States, but were caused, in whole or in part, by the

negligence of third parties.


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       9.      Any alleged injuries, damages, or losses sustained by Plaintiff were not caused by

acts or omissions on the part of the United States, but were caused, in whole or in part, by an

intervening or superseding cause or event.

       10.     Any alleged injuries, damages, or losses sustained by Plaintiff were not caused by

an act or omission on the part of the United States, but were caused, in whole or in part, by

Plaintiff’s own negligence or were the product of a voluntary assumption of risk.

       11.     The liability, if any, of the United States, which is expressly denied, and

responsible parties, named or unnamed, should be proportionately reduced and apportioned

based on their respective degrees of fault, and the liability of the United States, if any, should be

reduced, in accordance with

law.

       12.     Plaintiff has not suffered any compensable damages.

       13.     Plaintiff has failed to mitigate damages.

       14.     If it is found that the United States is liable, which it expressly denies, the United

States is entitled to an offset against damages, if any, for all amounts received by Plaintiff from

the United States and its agencies, and also from all collateral sources.

       15.     All future damages, if any, must be reduced to present value.

       16.     Income taxes must be deducted from all alleged past and future lost earnings.

       17.     Plaintiff fails to state a claim for medical monitoring damages because they have

not alleged a specific or manifest injury.

       18.     Plaintiff’s claims are barred by the Good Samaritan doctrine.

       19.     Plaintiff’s claims are barred, in whole or in part, by the principles of res judicata


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and/or collateral estoppel.

       20.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver,

laches, estoppel, release, unclean hands, and/or ratification.

       21.     The United States asserts any affirmative defenses available under state law.

       22.     Plaintiff’s claims are barred by Section 733.1 of the Louisiana Homeland Security

and Emergency Assistance and Disaster Act, La. R.S. 29:721-738, and by Section 771 of the

Louisiana Health Emergency Powers Act, La. R.S. 29:760-772.


Dated: April 6, 2010                                  Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2010, the foregoing document was filed via the U.S.

District Court’s CM/ECF electronic filing system and a copy thereof was served upon Liaison

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